Case 2:11-cv-07318-CCC-CLW        Document 113      Filed 09/27/19    Page 1 of 2 PageID:
                                                                            -


                                                                                      ‘O6
                                        1948



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


                                                Civil Action No. 11 -cv-73 12 (CCC)(CLW)
  JUICE ENTERTAINMENT, LLC, THOMAS
  DORFMAN, AND CHRIS BARRETT,
                     Plaintiffs,

                      vs.

  LIVE NATION ENTERTAINMENT, INC.,

                                 Defendant.


                     ORDER STRIKING PLAINTIFFS’ EXPERT REPORT

        THIS MATTER having been open to the Court by Greenberg Traurig, LLP,

 attorneys for Defendants Live Nation Entertainment, Inc., (“Live Nation”) on notice

 to Andrew Smith, attorney for Plaintiffs Juice Entertainment LLC, Thomas

 Dorfman, and Chis Barrett (“Plaintiffs”), by way of Motion to Strike Plaintiffs’

 Expert Report, excluding from this litigation the expert report and expert testimony

 of Dr. Richard D. Bamet, and the Court having considered the submissions of the

 parties and having heard argument of counsel, if required, and for good cause shown,

                ITISTHIS1dayof                -/2m,.4\          ,2019,

                ORDERED that:

        1. Defendants’ Motion to Strike Plaintiffs’ Expert Report and Testimony of

            Dr. Richard D. Barnet hereby is GRANTED; and it is further




ACTIVE 45242592v1
Case 2:11-cv-07318-CCC-CLW             Document 113           Filed 09/27/19   Page 2 of 2 PageID:
                                                                               -
                                                                                         -      J07
                                             1949



         2. My and all reports prepared by Dr. Richard D. Barnet are hereby excluded

             from use in this litigation; and it is thrther

         3. Dr. Richard D. Bamet is hereby excluded from testifying as expert witnesses

             at trial in this litigation; and it is thither

         4. Dr. Richard D. Barnet shall destroy all Live Nation Confidential Documents

             in his possession, custody, or control; and it is thrther

         5. Plaintiffs shall reimburse Live Nation its reagonnhlp °n°tg and fee6 incueed

             in bringingthis motion, which Live Nation shall guatify in an appropitiate

             submission to be filed with_the_Court on or before                              2019,

             falinwing which Plaintiffs       shall—have-—l-tdays irJiJt-te—pmvide-suth

             ra



                                                       Hon. Cathy L(Waldor, U.S.M.J.


                                                          %e keo&                       7J?/ij




 ACTIVE 45242592v1
